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    8
                      IN THE UNITED STATES DISTRICT COURT
    9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10                          SOUTHERN DIVISION

   11 MARIANO BENITEZ, individually

   12 and on behalf of others similarly       Case No. 8:19-cv-00098
        situated,
   13                                         [PROPOSED] ORDER ON
   14               Plaintiff,                STIPULATION TO EXTEND THE
                                              DEADLINE TO ADD PARTIES
   15         vs.                             AND AMEND PLEADINGS
   16
        POWERLINE FUNDING LLC, a New
   17 York limited liability company,

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                    Defendant.
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                                                                       [PROPOSED] ORDER
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    1                                [PROPOSED] ORDER
    2         Pursuant to the parties’ stipulation, and good cause appearing, IT IS
    3
        HEREBY ORDERED that:
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              (1) The parties shall have up to and including October 1, 2019 to file any
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    6
        motion to add parties and/or amend pleadings.

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    8 Dated: _____________                           ____________________________
    9
                                                     Hon. Josephine L. Staton
                                                     United States District Court Judge
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                                                                             [PROPOSED] ORDER
